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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                                    4:16CR3033

       vs.
                                                                      ORDER
MICHAEL H. MELCHIOR, and PEGGY A.
BRENNAN,

                     Defendants.

        The government has moved to continue the trial currently set for February 14, 2017.
(Filing No. 113). As explained during today’s conference call with counsel, the government
needs additional time to secure the trial attendance of witnesses from other states, and the
defendants need time to consider whether to proceed to trial or, instead, engage in plea
discussions. The motion to continue is unopposed. Based on the showing set forth in the motion,
the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)     The government’s motion to continue, (Filing No. 113), is granted.

       2)     As to both defendants, the trial of this case is set to commence before the
              Honorable Richard G. Kopf, Senior United States District Judge, in Courtroom 1,
              United States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on April 3, 2017, or as
              soon thereafter as the case may be called, for a duration of three (3) trial days.
              Jury selection will be held at commencement of trial.

       3)     Based upon the representations of counsel, the Court further finds that the ends of
              justice will be served by continuing the trial; and that the purposes served by
              continuing the trial date in this case outweigh the interest of Defendant and the
              public in a speedy trial. Accordingly, as to both defendants, the additional time
              arising as a result of the granting of the motion, the time between today’s date and
              April 3, 2017, shall be deemed excludable time in any computation of time under
              the requirements of the Speedy Trial Act, because although counsel have been
              duly diligent, additional time is needed to adequately prepare this case for trial
              and failing to grant additional time might result in a miscarriage of justice. 18
              U.S.C. § 3161(h)(1), (h)(6) & (h)(7). Failing to object to this order as provided
              under the court’s local rules will be deemed a waiver of any right to later claim
              the time should not have been excluded under the Speedy Trial Act.

       Dated this 7th day of February, 2017         BY THE COURT:
                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
